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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9        JAMES JOHNSON,                                    CASE NO. C22-1731-JCC
10                             Plaintiff,                   MINUTE ORDER
11               v.

12        MILLIMAN, INC., d/b/a Intelliscript,

13                             Defendant.
14

15
               The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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               This matter comes before the Court on the parties’ stipulation and proposed order for
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     voluntary dismissal (Dkt. No. 20). Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a case
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     may be dismissed without a court order if there is a “stipulation of dismissal signed by all parties
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     who have appeared.” Accordingly, the parties’ stipulation here is self-executing and this action is
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     DISMISSED with prejudice and without an award of fees or costs to either party. The Clerk is
22
     DIRECTED to close this case.
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     //
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     //
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     //
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     //

     MINUTE ORDER
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            Case 2:22-cv-01731-JCC Document 22 Filed 02/20/24 Page 2 of 2




 1        DATED this 20th day of February 2024.

 2
                                                  Ravi Subramanian
 3                                                Clerk of Court
 4
                                                  s/Kathleen Albert
 5                                                Deputy Clerk

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     MINUTE ORDER
     C22-1731-JCC
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